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                  EXHIBIT 9
                       to
                 Declaration of
                 Edward Diver
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                                                                       1
 1               IN THE UNITED STATES DISTRICT COURT

 2                  CENTRAL DISTRICT OF CALIFORNIA

 3    - - - - - - - - - - - - - -+
                                 |
 4    IN RE: NATIONAL FOOTBALL   |
                                 |
 5    LEAGUE SUNDAY TICKET       |         Case Number:
                                 |
 6    ANTITRUST LITIGATION       |         ML 15-02668-PSG
                                 |         (JEMx)
 7                               |
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13                       Video Deposition of

14                      Ali Yurukoglu, Ph.D.

15                   Friday, November 18, 2022

16                             9:03 a.m.

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23    Job No. 871716

24    Reported by:     Laurie Donovan, RPR, CRR, CLR

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 6                             November 18, 2022

 7                             9:03 a.m.

 8

 9                                  video Deposition of

10    Ali Yurukoglu, Ph.D., held in person, with

11    the witness and all parties participating in

12    person, pursuant to the Rules of the United

13    States District Court in the Central District

14    of California, subject to such stipulations

15    as may be recited herein or attached hereto,

16    before Laurie Donovan, a Registered

17    Professional Reporter and notary public of

18    the District of Columbia, who officiated in

19    administering the oath to the witness.

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                                                                       3
 1                      A P P E A R A N C E S

 2    ON BEHALF OF THE PLAINTIFF:

 3                Langer, Grogan & Diver, P.C.

 4                1717 Arch Street

 5                Suite 4020

 6                Philadelphia, Pennsylvania 19103

 7                (215)320-5660

 8                By:   Edward (Ned) Diver, Esq.

 9                      ndiver@langergrogan.com

10                      Kevin Trainer, Esq.

11                      ktrainer@langergrogan.com

12    ON BEHALF OF THE DEFENDANT:

13                Wilkinson Stekloff D.C.

14                2001 M Street, NW

15                10th Floor

16                Washington, D.C.     20036

17                (202)847-4000

18                By:   Rakesh Kilaru, Esq.

19                      rkilaru@wilkinsonstekloff.com

20                      Caroline Li, Esq.

21                      cli@wilkinsonstekloff.com

22    ALSO PRESENT:

23                Jason Levin, videographer

24

25
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                                                                       4
 1                      EXAMINATION INDEX

 2                                                           PAGE

 3    EXAMINATION BY MR. DIVER       . . . . . . . . . .         7

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11                         E X H I B I T S

12    EXHIBIT       DESCRIPTION                              PAGE

13    Exhibit 1     Expert Report of Ali Yurukoglu,

14                  Ph.D., November 4, 2022 . . . . .          11

15    Exhibit 2     Article entitled "Price

16                  Discrimination and Vertical

17                  Relationships in Multichannel

18                  Television," dissertation for

19                  Doctor of Philosophy for Ali

20                  Yurukoglu, May 2009 . . . . . . .          29

21    Exhibit 3     Article entitled "The Welfare

22                  Effects of Bundling in

23                  Multichannel Television Markets"

24                  by Crawford and Yurukoglu . . . .          66

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                                                                       5
 1    (Exhibits continued)

 2    EXHIBIT       DESCRIPTION                              PAGE

 3    Exhibit 4     Article entitled "The Welfare

 4                  Effects of Vertical Integration

 5                  in Multichannel Television

 6                  Markets" by Crawford, Lee,

 7                  Whinston and Yurukoglu       . . . . .     90

 8    Exhibit 5     Competitive Impact Statement in

 9                  the case of USA, et al, vs.

10                  Comcast, et al     . . . . . . . . .      111

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 1    --------------------------------------------------

 2                      P R O C E E D I N G S

 3                             9:03 a.m.

 4    --------------------------------------------------

 5                      THE VIDEOGRAPHER:      We are now on

 6          the record.    My name is Jason Levin.       I'm the

 7          videographer retained by Lexitas.         Today's

 8          date is November 18, 2022, and the time is

 9          approximately 9:03 a.m.

10                      This deposition is being held at

11          the offices of Wilkinson Stekloff in

12          Washington, D.C. in the matter of NFL Sunday

13          Ticket Antitrust Litigation.

14                      The deponent is Dr. Ali Yurukoglu.

15                      Would all counsel please introduce

16          themselves for the record, and then the court

17          reporter, Laurie Donovan, will swear in the

18          witness.

19                      MR. DIVER:    Edward Diver, Langer

20          Grogan & Diver, for the plaintiffs.

21                      MR. TRAINER:     Kevin Trainer, Langer

22          Grogan & Diver, for plaintiffs.

23                      MR. KILARU:    Rakesh Kilaru and

24          Caroline Li from Wilkinson Stekloff for the

25          defense.
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                                                                       7
 1                             * * * * *

 2    Whereupon,

 3                       ALI YURUKOGLU, Ph.D.,

 4          having been first duly sworn, testified

 5          upon his oath as follows:

 6              EXAMINATION BY COUNSEL FOR PLAINTIFFS

 7    BY MR. DIVER:

 8          Q      Good morning, Dr. Yurukoglu.

 9          A      Good morning.

10          Q      My first question is:     Have you been

11    deposed before?

12          A      No.

13          Q      No?   This is your first time.      Okay, so

14    you'll get the full spiel.

15                 A couple things.    One is that it's

16    important that we make a nice clean record, so

17    your responses should be spoken and clear, as

18    should mine.

19                 It's important that we not speak at the

20    same time as much as possible.        It's somewhat

21    inevitable, but we should try to keep in mind that

22    that's an important part of what we're doing

23    today.

24                 I am known to speak quietly sometimes,

25    so if you don't hear something clearly that I've
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19                Let's see.    Then I was hired by Langer

20    Grogan in MLB, NHL litigation about how to market

21    packages.

22          Q     And who did you represent in that

23    case -- or who did Langer Grogan represent?

24          A     Plaintiffs.

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24    BY MR. DIVER:

25          Q     Now, you understand that this case is
Case 2:15-ml-02668-PSG-SK Document 765-12 Filed 12/06/22 Page 12 of 20 Page ID
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                                                                       19
 1    about out-of-market television packages in

 2    professional sports?

 3          A     Yes.

 4          Q     And your representation in the MLB case

 5    was about out-of-market television packages in

 6    professional sports?

 7          A     My representation?

 8          Q     Your, your consultation.

 9          A     Correct.

10          Q     And you don't think that's as relevant

11    as the other consultations you've listed?

12                       MR. KILARU:    Object to the form.

13                       THE WITNESS:    No, I think it's

14          relevant, yeah.      If I could rephrase this, I

15          would say media businesses and a law firm,

16          other law firms, so it wasn't that I was

17          avoiding that.

18    BY MR. DIVER:

19          Q     Now, in that case, what kind of advice

20    did you give?

21          A     It was advice related to economic

22    models.

23          Q     Did you advise on decisions about what

24    data was needed?

25          A     Data was -- okay.      So I need to remember
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                                                                       20
 1    that, because it's been a while, and I should

 2    mention this is before -- this is around --

 3    correct me if I'm wrong -- 2014/2015, correct?

 4           Q    That sounds correct, yeah.

 5           A    So this is before I had tenure, and I

 6    wanted -- I wasn't -- I was trying to -- any

 7    consulting I did I was trying do in a very limited

 8    role, because more focused on research.

 9                If I remember correctly, a lot of the

10    data -- and I was also fairly new to this world.

11    A lot of the data requests in discovery was sort

12    of done by the time I was spending any meaningful

13    time.

14                That's my recollection.

15           Q    And did you advise them on model design?

16           A    It's -- in a broad way, "model design"

17    is a very broad way of putting it.          I think it's

18    fair to say at a high level on economic modeling,

19    yes.

20           Q    And did you advise them on how to

21    respond to defendants' challenges?

22           A    Again, I have to remember back exactly

23    how this went.      I think by the point -- by the

24    time we got to -- by the time the case got to

25    defendants' challenges, I was playing a very
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 1    limited role.     I remember looking at the

 2    depositions of some of the defendants, but not --

 3    I don't actually remember analyzing them for the

 4    counsel.

 5          Q     Do you recall preparing attorneys for

 6    depositions of defendants' experts?

 7          A     I don't -- actually, I don't remember

 8    the calls.     It may have happened.      I'd have to

 9    check my records.      Maybe I have it in my, my

10    billing records.      It doesn't -- the memory doesn't

11    pop up in my head.

12          Q     Do you recall who the defendants were in

13    that case?

14          A     There were a lot of them, so I think, I

15    think I recall some of them.

16          Q     Which ones do you recall?

17          A     I think the -- a bunch of MVPDs.         I

18    think there were RSNs, regional sports networks.

19    I think the leagues and the teams as well, maybe.

20    I remember like it wasn't exactly every team.

21          Q     Do you remember which MVPDs it was?

22          A     I thought -- I don't remember the exact

23    list.

24          Q     Do you remember that DirecTV was a

25    defendant?
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                                  #:24460

                                                                       22
 1                       MR. KILARU:    Object to the form.

 2                       THE WITNESS:    You know, I actually

 3          don't -- like I said, I don't remember the

 4          list.    I remember it being the larger MVPD,

 5          so DirecTV being one of the larger ones, it

 6          would be a good bet.

 7    BY MR. DIVER:

 8          Q     Do you remember that the class in that

 9    case included DirecTV subscribers?

10                       MR. KILARU:    Object to the form.

11                       THE WITNESS:    Again, I mean I

12          wouldn't have -- I wouldn't be able to say.

13          I wouldn't have bet my, my life on it, but it

14          seems like a pretty good bet, based on the

15          case.

16    BY MR. DIVER:

17          Q     And you understand that this case

18    involves DirecTV subscribers as plaintiffs?

19          A     Yes.

20          Q     Now, did you sign a protective order in

21    that case?

22          A     I, I don't remember.       I believe so.

23          Q     Did you receive confidential information

24    in that case?

25          A     Yes.
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                                                                       23
 1          Q     Did you have confidential communications

 2    with counsel for plaintiffs?

 3          A     Yes.

 4          Q     Did you reach out at any time to counsel

 5    in that case for permission to assist defendants

 6    in a case that's similar to this case?

 7          A     No.

 8          Q     Did you discuss your prior engagement

 9    with defendants' counsel in this case?

10          A     Yes.

11          Q     Did you discuss that you had

12    confidential communications with the lawyers in

13    that case?

14                       MR. KILARU:    Object to the extent

15          this is asking for questions about

16          communications with counsel.        Those are

17          shielded by the protective order.

18                       You don't have to answer the

19          question.

20    BY MR. DIVER:

21          Q     Did you discuss that you had

22    confidential communications with other economists

23    in that case?

24                       MR. KILARU:    Same objection.     You

25          don't have to answer.
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                                                                       24
 1    BY MR. DIVER:

 2          Q     How much money did you bill in that

 3    case; do you recall?

 4          A     I'd have to check my records.         Do you

 5    want me to estimate or not?

 6          Q     Yes, please.

 7          A     I would estimate between $30,000 and

 8    $40,000.

 9          Q     Okay.    Did you discuss --

10          A     Over, over a few -- two years or so.

11          Q     Did you discuss with counsel the, the

12    likelihood that many of the same class members in

13    that case are class members, potential class

14    members in this case?

15                      MR. KILARU:     Object on the grounds

16          of protective order and to the form

17          generally.

18                      You don't have to answer that.

19    BY MR. DIVER:

20          Q     Did you discuss obtaining any legal

21    opinion concerning whether you might have a

22    conflict in this case?

23                      MR. KILARU:     Are you asking him if

24          he discussed with counsel?

25                      MR. DIVER:     Yes.
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                                                                       25
 1                      MR. KILARU:     Same objection.     You

 2          don't have to answer.

 3    BY MR. DIVER:

 4          Q     Did you obtain any legal opinion

 5    concerning whether you might have a conflict?

 6          A     Obtain legal opinion, does that mean --

 7    I just want to make sure I've got all the terms

 8    properly -- you mean did I hire a lawyer to --

 9          Q     Did you or someone on your behalf hire a

10    lawyer to?

11          A     No.

12          Q     Is it your understanding that the

13    defendants hired you because of your role in the

14    prior case?

15                      MR. KILARU:     Object to the form.

16          Calls for speculation.

17    BY MR. DIVER:

18          Q     You can answer.

19          A     That's not my understanding.

20          Q     Is it your understanding that it played

21    any role at all?

22                      MR. KILARU:     Object to the form.

23                      THE WITNESS:     Is it my

24          understanding?      I mean I haven't -- the -- I

25          wouldn't be surprised if it had some role
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                                                                       26
 1          just as relevant experience.

 2    BY MR. DIVER:

 3          Q     All right.     Let's move off of that topic

 4    for a second.

 5                What is your expertise as an economist?

 6          A     Okay.    So my field is called industrial

 7    organization.     There are various subfields of

 8    economics.     There's macro-economics.       There's

 9    labor economics.      Our field has this old-fashioned

10    name called industrial organization.

11          Q     And what is that?

12          A     I define it as the analysis of

13    competition.

14          Q     And how does that differ from macro and

15    micro, for instance, which also I assume involve

16    the analysis of competition?

17          A     Well, so it's a subfield of micro, so

18    you think there's economics, there's macro and

19    microeconomics.      Then under microeconomics, one of

20    the buckets would be industrial organization.            You

21    wouldn't actually call it part of macro.           I

22    wouldn't say macro studies the competition

23    specifically.

24          Q     Are you an expert or -- you used the

25    term "field."     Would you consider yourself to be
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 5    CERTIFICATE OF SHORTHAND REPORTER -- NOTARY PUBLIC

 6                    I, Laurie Donovan, Registered
            Professional Reporter, Certified Realtime
 7          Reporter, and notary public for the District
            of Columbia, the officer before whom the
 8          foregoing deposition was taken, do hereby
            certify that the foregoing transcript is a
 9          true and correct record of the testimony
            given; that said testimony was taken by me
10          stenographically and thereafter reduced to
            typewriting under my supervision; and that I
11          am neither counsel for, related to, nor
            employed by any of the parties to this case
12          and have no interest, financial or otherwise,
            in its outcome.
13
                      IN WITNESS WHEREOF, I have hereunto
14          set my hand and affixed my notarial seal this
            20th day of November, 2022.
15

16          My commission expires:       July 14, 2025

17

18

19    _____________________________

20    LAURIE DONOVAN
      NOTARY PUBLIC IN AND FOR
21    THE DISTRICT OF COLUMBIA

22

23

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